             IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF TENNESSEE
                             AT KNOXVILLE




UNITED STATES OF AMERICA                     )
                                             )
v.                                           )      No. 3:06-CR-123
                                             )
DOUGLAS TROY THOMPSON and                    )
RANDALL THOMPSON                             )


                          MEMORANDUM AND ORDER


             This criminal case is before the court on the motion and

supplemental motion of defendant Randall Thompson for a continuance of the

trial [docs. 72 and 74]. The defendant says that additional time is necessary

because his counsel has been hospitalized again for problems related to his heart

bypass surgery and will not be able to resume his practice of law for several

months. The government has filed a response and suggests a May trial date

[doc. 73].

             The court finds the defendant’s motions well-taken, and they will be

granted. The court finds that the ends of justice served by granting the motions

outweigh the best interest of the defendant and the public in a speedy trial. 18

U.S.C. § 3161(h)(8)(A). The failure to grant the motions would deny the

defendant his attorney’s services and his attorney a reasonable time to effectively

prepare for trial. 18 U.S.C. § 3161(h)(8)(B)(iv). Therefore, all the time from the



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filing of the motions to the new trial date is excludable time within the meaning of

the Speedy Trial Act. 18 U.S.C. § 3161(h)(8)(A).

             It is hereby ORDERED that the defendant’s motions for a

continuance are GRANTED, and the trial of this criminal case is CONTINUED to

June 23, 2008, at 9:00 a.m.



                                              ENTER:



                                                     s/ Leon Jordan
                                              United States District Judge




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